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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                              CASE NO. 14-23436-CIV-COOKE


  ROSALEE WILLIAMS, as “Presumptive”
  Personal Representative of the Estate
  Timmie Williams on behalf of the Estate of
  Timmie Williams, Rosalee Williams, surviving
  Parent of Timmie Williams and George
  Williams-Hankins, brother of Timmie Williams,
                Plaintiff,
  v.
  MIAMI-DADE COUNTY,
  a political subdivision and Florida
  Division of Financial Services, and
  JORDAN FRIED, individually,
              Defendants.
  _________________________________________/

       JORDAN FRIED’S ANSWER, DEFENSES, AND AFFIRMATIVE DEFENSES TO
                        SECOND AMENDED COMPLAINT

         Defendant Jordan Fried (“Defendant”) hereby files his Answer, Defenses, and

  Affirmative Defenses to Plaintiffs’ Second Amended Complaint (“SAC”) and asserts the

  following defenses:

         1.     Defendant denies Paragraph 1.

         2.     Defendant denies Paragraph 2.

         3.     Defendant admits Paragraph 3.

         4.     Defendant denies Paragraph 4.

         5.     As to Paragraph 5 of the SAC, Defendant denies that Rosalee Williams is the

  Personal Representative of the Estate of Timmie Williams. Defendant is without knowledge as to
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  whether Rosalee Williams will soon be appointed Personal Representative of the Estate of

  Timmie Williams and thereby denies the same.

          6.    Defendant is without knowledge as to Paragraph 6 of the SAC and thereby denies

  the same.

          7.    Defendant admits Paragraph 7.

          8.    Defendant admits Paragraph 8.

          9.    Defendant is without knowledge as to Paragraph 9 of the SAC and thereby denies

  the same.

          10.   Defendant is without knowledge as to Paragraph 10 of the SAC and thereby

  denies the same.

          11.   Defendant is without knowledge as to Paragraph 11 of the SAC and thereby

  denies the same.

          12.   Defendant admits Paragraph 12.

          13.   Defendant admits that officers from the Miami-Dade Police Department arrived

  on the scene, but denies the remaining allegations in Paragraph 13 of the SAC.

          14.   Defendant admits Paragraph 14.

          15.   Defendant admits that there were people fighting in the street, but is without

  knowledge as to the remaining allegations in Paragraph 15 of the SAC and thereby denies the

  same.

          16.   Defendant admits that the officers observed that someone had been stabbed, but

  denies the remaining allegations in Paragraph 16 of the SAC.

          17.   Defendant admits that the officers received information that someone at the scene

  was armed, but denies the remaining allegations in Paragraph 17 of the SAC.



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         18.     Defendant denies Paragraph 19.

         19.     Defendant is without knowledge as to Paragraph 19 of the SAC and thereby

  denies the same.

         20.     Defendant denies Paragraph 20.

         21.     Defendant denies Paragraph 21.

         22.     Defendant denies Paragraph 22.

         23.     Defendant denies Paragraph 23.

         24.     Defendant admits Paragraph 24.

         25.     Defendant is without knowledge as to Paragraph 25 of the SAC and thereby

  denies the same.

         26.     Defendant is without knowledge as to Paragraph 26 of the SAC and thereby

  denies the same.

                                              COUNT I

         This count is directed at Miami-Dade County, another defendant, not Sergeant Fried.

  Accordingly, no response to the allegations in Counts I is required.

                                             COUNT II

         This count is directed at Miami-Dade County, another defendant, not Sergeant Fried.

  Accordingly, no response to the allegations in Counts II is required.

                                             COUNT III

         41.     Defendant realleges all of its responses to Paragraphs 1-26.

         42.     Defendant admits Paragraph 42 of the SAC.

         43.     Defendant denies Paragraph 43.

         44.     Defendant denies Paragraph 44.



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           45.   Defendant denies Paragraph 45.

                          DEFENSES AND AFFIRMATIVE DEFENSES

           1.    Plaintiffs’ damages, if any, were the result, either in whole or in part, of the

  negligence or wrongdoing of Timmie Williams (“Williams”). Therefore, Plaintiffs’ claims are

  barred or reducible to the full extent thereof.

           2.    Plaintiffs’ damages, if any, are barred or reducible in each instance that Plaintiffs

  failed to mitigate damages.

           3.    The SAC fails to state a claim upon which relief can be granted under Rules

  12(b)(6) and 12(c) of the Federal Rules of Civil Procedure.

           4.    To the extent that Williams suffered any injuries as a result of facts alleged in the

  SAC, Defendant is not the proximate cause of those injuries.

           5.    Plaintiffs’ damages, if any, were the result, either in whole or in part, of the acts

  of third parties at the scene over whom Defendant had no control.

           6.    Plaintiffs’ damages, if any, are barred or reducible in each instance that Plaintiffs

  failed to mitigate damages.

           7.    Defendant is entitled to an apportionment of damages pursuant to Florida Statues

  Section 768.81 to account for the negligent acts committed by Williams and others.

           8.    Defendant did not violate any of Williams’ constitutional rights.

           9.    Defendant is entitled to qualified immunity for the force used against Williams.

  Defendant acted in an objectively reasonable manner in using force against Williams, who was

  non-compliant with Defendant’s instructions and threatened others with a weapon of deadly

  force.




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            10.   Defendant is entitled to qualified immunity because he never violated any clearly

  established rights belonging to Williams.

            11.   Plaintiffs’ lawsuit is barred because Defendant acted reasonably in using deadly

  force against Williams.

            12.   Plaintiffs’ claim is barred to the extent that Plaintiffs are suing Defendant for any

  alleged force Defendant used in defense of himself and/or others. Defendant was justified in

  using force against Williams because Williams posed an immediate threat of deadly harm to him,

  other police officers on-scene, and the surrounding bystanders.

            13.   Defendant was justified in any use of force as to Williams.

            14.   Defendant was reasonable in any use of force as to Williams.

            15.   Plaintiffs have failed to state a basis for the imposition of punitive damages

  against Defendant.

            16.   Any alleged use of force was authorized by Florida law, including but not limited

  to sections 776.05, 776.012, 776.032, and 776.085 of the Florida Statutes, and Defendant could

  reasonably rely on such statutory authority. Williams was brandishing a knife and threatening a

  third person.

            17.   Defendant is immune from suit because his use of force was justified pursuant to

  Florida Statutes Section 776.032. Williams was brandishing a knife and threatening a third

  person.

            18.   Defendant is entitled to recover his attorney’s fees incurred in the defense of this

  action because his use of force was justified and he is immune from suit pursuant to Florida

  Statutes Section 776.032.




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         19.     Defendant is entitled to a setoff for all insurance or other proceeds received by

  Plaintiff for any alleged injuries or alleged damages, as well as for the costs incurred by the

  Defendant in this federal proceeding.

         20.     Rosalee Williams and George Williams-Hankins are not proper parties as they are

  not personal representatives of the estate of Timmie Williams.

         21.     Defendant would show that the sole legal cause of the incident sued upon was the

  carelessness, inadvertence and negligence of Williams and that he knowingly, willfully, and

  voluntarily assumed the risk of the happening of the incident and, therefore, the Plaintiff is not

  entitled to recover from Defendant as alleged.

         22.     Plaintiffs’ injuries and/or damages, if any, are the result of an act of a known or

  unknown third party whose actions were not under the dominion or control of Defendant and any

  recovery therefrom should be barred to the full extent thereof.

         23.     Williams’ actions were superceding, intervening causes of the death and such

  causes exculpate Defendant.

         24.     George Williams-Hankins is an improper Plaintiff.

         25.     Defendant reserves the right to assert additional defenses as appropriate.

         WHEREFORE, Defendant Jordan Fried respectfully requests that this Court dismiss the

  claim against him with prejudice and/or enter judgment in Defendant’s favor; that the Court

  award Defendant attorney’s fees, litigation expenses, and costs, in accordance with applicable

  federal and state law; and that the Court award Defendant such other relief as the Court deems

  proper, equitable, and just.

         Dated: July 29, 2016                          Respectfully submitted,

                                               By:      s/ Erica Zaron
                                                       Erica S. Zaron (514489)

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served on July 29, 2016

  on all counsel or parties of record in the manner indicated on the Service List below.

                                                s/ Erica Zaron
                                               Assistant County Attorney

                                           SERVICE LIST




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